          Case 1:15-cv-05871-KPF Document 164 Filed 02/20/20 Page 1 of 9


 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


 KELLYPRICE,
                                                                      STIPULATION OF
                                                      Plaintiff,      CONFIDENTIALITY
                                                                      AND PROTECTFVE
                           -agamst-                                   ORDER

CITY OF NEW YORK, et al.,                                             15 Civ. 5871 (KPF)


                                                   Defendants.




                WHEREAS, pursuant to Rule 26 ofthe Federal Rules of Civil Procedure, all the

parties to this action (collectively the "Parties" and individually a "Party") must disclose certain

"Discovery Material" (i. e., information of any kind produced or disclosed in the course of

discovery in this action) to the other Parties to this Action;

                WHEREAS, pursuant to Rules 33 and 34 of the Federal Rules of Civil

Procedure,,a Party may seek certain documents and information from other parties pursuant to
discoverydemandsin this Action;

               WHEREAS, the parties deem certain information and documents confidential,

private and/or subject to a law enforcement and/or governmental privileges and/or other
applicable privileges;

               WHEREAS, good causeexists fortheentry ofanorderpursuant to Rule26(c) of
the Federal Rules of Civil Procedure;

               WHEREAS, the Parties object to the production of those documents unless

appropriateprotection for their confidentialityis assured;
        Case 1:15-cv-05871-KPF Document 164 Filed 02/20/20 Page 2 of 9



              NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by
andbetweentheattorneys forplaintiffandall defendantsthatdocumentsshallbeproducedin
accordancewiththetenns set forth below:

              1. This "Action" shall mean Kell Price v. Ci of New York et al. 15 Civ
5871 (KPF), filed in the Southern District ofNew York.

              2. As used herein, without waiving the right to later interpose objections
concerning these documents, "Confidential Materials" shall mean:

              (A) New York City Police Department ("NYPD") employment/personnel and
                   diseiplinary-related records, and records of investigations regarding the
                   conduct ofMembers of Service ofthe NYPD conducted by the NYPD, the
                   Civilian Complaint Review Board ("CCRB"), or other agencies, including,
                  butnotlimited totheinvestigation filespertaining totheallegedJuly2, 2015
                  incident;

             (B) NYPDta-ainmgmaterials,including,butnotlimitedtodocuments,operation
                  orders, command level orders and lesson plans;

             (C) AnyNYPDdocumentsproducedaspartofmunicipalliabilitydiscovery;
             (D) Names and addresses of non-party individuals/witnesses who have been
                  identified and/ordisclosedby defendant Cityto the extent suchinformation
                  is within defendant City's possession;

             (E) Other Discovery Materials thatmay in good faith, during thependency of
                  this litigation, be designated "Confidential Materials" by the Parties,
                  Discovery Materials that contain information that is personal, sensitive or
                  otherwise inappropriate for public disclosure.
          Case 1:15-cv-05871-KPF Document 164 Filed 02/20/20 Page 3 of 9



                 3. The documents andinformation as definedin Para^-aph2 producedbythe
 Partiesshallnotbedeemed"ConfidentialMaterials"to the. extent, andonlyto theextent, that
 they are: (a) obtained from sources other than the Party producing and/or disclosing the
 materials, or (b) are otherwise publicly available.

                4. The Party or person producing or disclosing Discovery Material shall
 designate the Discovery Material documents "Confidential Materials" by labeling such
 documents"Confidential"and/orbydesignatingsuchdocumentsbybatesnumberina writing
 directed to plaintiffs and co-defendants' counsel.

                5. The Parties shall have a reasonable time to inspect and designate as
 "Confidential Materials" documents sought fromthirdparties.

                6.      Any documents produced by a non-party by request or pursuant to a
subpoenain this Matter andthat are designatedasConfidential Materials by a Party shallbe
governedbytheterms ofthis Stipulation ofConfidentiality andProtective Order.

                7.     Each Party reserves the right to designate any document confidential

pursuant to this Stipulation ofConfidentiality andProtective Orderifnecessary afterproduction
of suchdocuments in this Action.

               8.      Inadvertent production of any document or infonnation which is
privileged, confidential, and/or was prepared in anticipation of litigation, is otherwise immune
from discovery, shall not constitute a waiver of any privilege or confidentiality or of another
ground for objecting to discovery with respect to that document, or its subject matter, or the
infonnationcontainedfherein,orofthedisclosingParty'srightto objectto theuseofanysuch
document or the information contained therein during any proceeding in this litigation or
otherwise. Upon receiving notice from the disclosing Party or its counsel that a particular
         Case 1:15-cv-05871-KPF Document 164 Filed 02/20/20 Page 4 of 9



  documentorclassofdocumentshasbeeninadvertentlyproducedandisclaimedtobeprivileged,
  or to contain privileged information, the parties in receipt of the inadvertently produced
  document(s)willpromptlytakereasonablestepstolocateandreturnordestroyallcopiesofany
  suchdocuments. Anysuchdocumentsshallnotthereafterbeusedbythepartiesinreceiptofthe
 documentsforanypurpose,unlessanduntilthedocumentsareadjudicatedtobenon-privileged.
 Nothinginthisparagraphshallalteranattorney'sresponsibilitiesunderapplicablelaworcodes
 ofethicswhenconfrontedwithinadvertentlyproducedprivilegedinformation.
                9.      Each person who has access to Discovery Material designated as
 Confidential pursuant to this stipulation must take all due precautions to prevent the
 unauthorized or inadvertent disclosure ofsuchmaterial.

                10.    If a Party objects to the designation of particular documents as
 "ConfidentialMaterials," thatPartyshallstatesuchobjectioninwritingtothedesignatingParty,
 andthePartiesshallendeavoringoodfaithtoresolve suchanobjection. Ifsuchanobjection
cannotberesolved,then,withinfifteen(15)daysofreceivingtheresponsetotheobjectiontothe
material'sclassificationasconfidential,theobjectingPartyshallseekjudicialintervention. Any
su-chmaterialsorinfonnationshallremainconfidentialuntilthePartiesresolvetheobjectionor
there is a resolution ofthe designation bythe Court.

               11.     Confidential Materials maynotbeusedforanypurpose otherthan forthe
preparation or presentation ofthis Matter.

               12.    TheParties and fheParties' attorneys shall not disclose the Confidential
Materials to anypersonotherthana Party, anattorneyofrecordforthatParty,includingany
paralegal,clerical,orotherassistantthatsuchcounselemploysandassignstothismatter,aswell
        Case 1:15-cv-05871-KPF Document 164 Filed 02/20/20 Page 5 of 9



asanyvendors thatcounsel retainsto providelitigation support services; or anymemberofthe
staffofthatattorney's office,exceptunderthefollowingconditions:

             a. Disclosure maybemadeonly if necessary, to thepreparation or presentation
                 of the Party's case in fhis Matter, to those individuals described in fhe
                 subparagraphs below.

                 b. an expert who has been retained or specially employed by a Party's
                    attorney in anticipation oflitigation orpreparation forthis Action:

                c. anymediator or arbitrator that the Parties engage in this Action or that this
                    Court appoints;

                d. as to any document, its author, its addressee, and any other person
                    indicated on the face of the document as having received a copy and
                    whom tfae Party,seeking to disclose the document has a good faith belief
                    actually received a copy ofthe document;

                e. to a witness at a deposition in this action orinpreparation for testimony
                    at a deposition or trial, provided that any such witness not retain any
                    copies ofDiscoveryMaterial designated asConfidential;
                f. stenographers engagedto transcribe depositions theParties conductin this
                   action; or

                g. to the Court.

            h. Before anydisclosure ismadeto a personlistedinsubparagraphs (b)through
                (f) above (other than to the Court), the disclosing Party's attorney shall
               provide eachsuchpersonwith a copy.ofthis Stipulation ofConfidentiality
               andProtective Orderforreview, andsuchpersonshallconsentinwriting, in
          Case 1:15-cv-05871-KPF Document 164 Filed 02/20/20 Page 6 of 9



                      the fonn annexed hereto as Exhibit A, not to use the Confidential Materials

                      for anypurpose otherthanin connection withthe prosecution ofthis case and

                      not to further disclose the Confidential Materials except in testimony taken in
                      this case. The attorneys for the Party making such disclosure shall retain the

                      signed consent andfurnish a copyto the attorneys for theParty fhatproduced
                      theConfidentialMaterialsuponrequestata depositionorimmediatelybefore
                      trial, although the name of an expert that the Receiving Party does not intend
                      to call as a trial witness may be redacted from such a consent before it is
                      produced.

                13.      Deposition testimony and exhibits concerning any Confidential Materials

whichreveals the contents ofsuchmaterials shall be deemed confidential, andthetranscript of
suchtestimony, together with any exhibits referred to therein, shall be separately bound, with a
cover page prominently marked "CONFIDENTIAL." Such portion of the transcript shall be
deemedto be Confidential Materials withinthemeaningofthis Stipulation ofConfidentiality
and Protective Order.


                14.      If anypaper which incorporates any Confidential Materials or reveals the
contents thereof is filed in this Court, those portions of the papers shall be filed under seal. in
accordance with the rules oftheDistrict Court in which the Matter is filed and/or the Individual
Rules of thejudge to whom the papers are directed.

               15.      Where the confidential information is not material to issues addressed in

court submissions and the Parties agree in writing that the redaction of personal, confidential
and/or identifying information would be sufficient to protect the interests of Parties or non-
parties, the Parties may file redacted documents without further order of the Court.
          Case 1:15-cv-05871-KPF Document 164 Filed 02/20/20 Page 7 of 9



               16. Within 30 days after the tennination ofthis Action, including any appeals, the
                                   r.


"Confidential Materials, " including all copies, notes, and other materials containing or referring
to infonnation derived therefrom (other than the Court's copies of such materials), shall be
returned to the producing Parties' attorneys or, upon the producing Parties' attorneys' consent,

destroyed, and all persons who possessed such materials shall verify their, return or destruction

by affidavit furnished to defendants' attorney; except that plaintiffs counsel shall retain one

copyofthe Confidential Materials, andanyConfidential Materials containingplaintiffs attorney
work product, to the extent required to comply with applicable law or regulation, so long as

appropriate and reasonable safeguards (at least as stringent as those used to protect plaintiffs
own infonnation of like nature) are imposed to prevent the use of the Confidential Materials for

any other purpose. Confidential Materials which were uploaded to a database or review

platfonn, including anybackups, and which cannot reasonably be deleted, must be quarantined
                                                                           I


andsecuredto prohibit accessto the ConfidentialMaterials.

               17.    Nothing in this Stipulation of Confidentiality and Protective Order shall be

consfaued to limit the Parties' use ofits own Confidential Materials in any manner.

               18.    This Stipulation of Confidentiality and Protective Order will survive the

tennination of the litigation and will continue to be binding upon all persons to whom

Confidential Materials are produced or disclosed. All documents or information that have been

deemed confidential pursuant to this order, including all copies and non-conforming copies
thereof, shall remain confidential for all time. Oncethe Matter hasbeen resolved, including all
appeals, the Confidential Materials, including all copies and non-conforming copies thereof,

shall not be used by Plaintiff, Defendants, Co-Defendants, or anyone receiving confidential

documents pursuant to paragraph 10 herein, for any purpose without prior Court approval.
     Case 1:15-cv-05871-KPF Document 164 Filed 02/20/20 Page 8 of 9




                19.   This Stipulation ofConfidentiality and Protective Order shall be binding
uponthePartiesimmediately uponsignatureandshallbesubmittedtotheCourtforentry asan
Order.

               20.    The terms ofthis Stipulation of Confidentiality and Protective Order shall
bebinding-uponall currentandfuturePartiesto thisMatterandIheircounsel.

         AMANDA BAKOWSKI                        JAMES E. JOHNSON
         Attorneyfor Plaintiff                  CorporationCounselofthe City ofNew
         Cravath, Swaine,& Moore, LLP              York
         825 Eighth Avenue                      Attorney for Defendants City, Simmons,
         New York, New York 10019               Corrado, Cruz, andStaines
                                                100Church Street, Rm. 3-309
                                                NewYo      ew York _ 007


         By:                                    B
               AmandaBakowski,Esq.                    Laur Iheanachor,Esq.

                                                 L^
                                                THOMASJ. QUIGLEY
                                                General Counsel
                                                Metropolitan Transportation Authority
                                                Attorney for Defendants Stephen Mears and
                                                Alison Schmitt
                                                2 Broadway, 4th Floor
                                                NewYo , NewYo 0004

                                                By:
                                                         onDouglas Bames, Esq.


                                                SO ORDERED:



                                               HON. KATHERIFW POLK FAILLA
                                               UNITEDSTATESDISTRICTJUDGE

                                                Dated:
         Case 1:15-cv-05871-KPF Document 164 Filed 02/20/20 Page 9 of 9



                                          EXHIBIT A

The undersigned hereby acknowledges that s/he has read the Stipulation of Confidentiality and
Protective Order dated               2020, entered into the Matter entitled Kell Price v. Ci of

NewYork et al., 15 Civ. 5871 (KPF), understands the tenns thereof. The undersigned agrees
not to use the Confidential Materials defined therein for any purpose other than in connection

with the prosecution ofthis case, and will not further disclose the Confidential Materials except
in testimony taken in this case.




Date:                                               Signahire:



                                                    Print Name:




                                                    Occupation:
